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From: Rick Fernandez <RickF @rdtintermodal.com>

Sent: Tuesday, September 24, 2024 5:35 PM

To: Tony Glenn <tony@daws-trucking.com>;

Ce: wtucker@ghs.cpa; r.d.fernandez2@gmail.com; Kathy@daws-trucking.com
Subject: RE: My last day

Hey Tony

If you can get me a crash course on accounts payable

| list of contacts for

TLC to pay drivers

| will get with Kathy

on how to get these drivers paid

and how will we know what is debiting out of American National?

| added William Tucker to see if there’s potential Taxes that need to be paid.

And Ricky to help get a list together

From: Tony Glenn [mailto:tony@daws-trucking.com]
Sent: Tuesday, September 24, 2024 12:23 PM

To: Rick Fernandez

Subject: My last day

Will be Friday Sept 27, thanks.

JDT_00226228

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